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                       IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE
  In re                                                   Chapter 7
  LIVE WELL FINANCIAL, INC.,                              Case No. 19-11317 ( LSS)
                   Debtor.
 DAVID W. CARICKHOFF, as Chapter 7
                                                          Adv. Pro No. 21-50990 (LSS)
 Trustee of LIVE WELL FINANCIAL, INC.,
              Plaintiff,
  v.
  STUART H. CANTOR, JAMES P. KARIDES,                     Re: Docket Nos. 1, 15, 16, 27,
  BRETT J. ROME, LWFVEST, LLC, NORTH HILL                 28, 31 & 34
  VENTURES II, LP, FIVE ELMS EQUITY FUND I,
  L.P., FIVE ELMS HAAKON, L.P., FIVE ELMS
  COINVEST, L.P., JAMES BROWN, GANTCHER
  FAMILY LIMITED PARTNERSHIP, ERIC
  LEGOFF, and TITLE WORKS OF VIRGINIA, INC.,
  and JOHN DOES 1–10,
                    Defendants.
                     NOTICE OF COMPLETION OF BRIEFING REGARDING
                   STUART H. CANTOR’S MOTION TO DISMISS COMPLAINT
          PLEASE TAKE NOTICE THAT, pursuant to Rule 7007-4 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware, Stuart H. Cantor (the “Defendant”) hereby provides notice of the completion of briefing

regarding Defendant’s Stuart H. Cantor’s Motion to Dismiss Complaint (Docket No. 15)

(the “Motion to Dismiss”).

          PLEASE TAKE FURTHER NOTICE THAT a hearing on the Motion to Dismiss, if any,

shall be set at the convenience of the Court.

          PLEASE TAKE FURTHER NOTICE THAT the Defendant, by and through his

undersigned counsel, advises the Court that the following filings are relevant to the Motion to

Dismiss and will be delivered to chambers in the Notice of Completion of Briefing Binder:




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 Tab     Document Description                                       Docket No.    Filing Date
 1       Complaint                                                  1             6/29/2021
 2       Stuart H. Cantor’s Motion to Dismiss Complaint             15            9/9/2021
 3       Memorandum in Support of Stuart H. Cantor’s Motion to      16            9/9/2021
         Dismiss Complaint
 4       Motion of the Chapter 7 Trustee for Leave to Exceed Page   27            10/11/2021
         Limit Requirements
 5       Trustee’s Omnibus Response in Opposition to Motions to     28            10/11/2021
         Dismiss of (1) LWFVest LLC, North Hill Ventures II, LP,
         Five Elms Equity Fund I, LP, Five Elms Haakon, LP, Five
         Elms Coinvest, LP, James Karides, and Brett Rome and (2)
         Stuart H. Cantor
 6       Reply Brief in Support of Stuart H. Cantor’s Motion to     31            11/3/2021
         Dismiss Complaint
 7       Request for Oral Argument Regarding Stuart H. Cantor’s     34            11/10/2021
         Motion to Dismiss Complaint


Dated: November 10, 2021
Wilmington, Delaware

                                             /s/ J. Zachary Noble
                                           Robert J. Stearn, Jr. (No. 2915)
                                           Cory D. Kandestin (No. 5025)
                                           J. Zachary Noble (No. 6689)
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